Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document    Page 1 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document    Page 2 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document    Page 3 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document    Page 4 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document    Page 5 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document    Page 6 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document    Page 7 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document    Page 8 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document    Page 9 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 10 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 11 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 12 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 13 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 14 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 15 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 16 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 17 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 18 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 19 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 20 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 21 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 22 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 23 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 24 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 25 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 26 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 27 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 28 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 29 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 30 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 31 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 32 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 33 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 34 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 35 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 36 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 37 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 38 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 39 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 40 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 41 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 42 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 43 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 44 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 45 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 46 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 47 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 48 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 49 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 50 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 51 of 52
Case 6:19-bk-21113-MW   Doc 1 Filed 12/24/19 Entered 12/24/19 22:29:52   Desc
                        Main Document   Page 52 of 52
